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5                                        UNITED STATES DISTRICT COURT

6                                            DISTRICT OF NEVADA

7                                                     ***
      MERSHAUN SCOTT,
8
                            Plaintiff,
9                                                        2:20-cv-01865-KJD-NJK
      vs.                                                ORDER
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      NICHOLAS & COMPANY FOODSERVICE,
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      LLC,
12                          Defendant.
13          This matter has been set for an Early Neutral Evaluation session on December 2, 2020, at 10:00
14   AM. (ECF No. 9). Due to rising COVID-19 cases, the Early Neutral Evaluation session will be conducted
15   by video conference.
16          Accordingly,
17          IT IS ORDERED that the Early Neutral Evaluation session will be conducted by video conference
18   at 10:00 a.m., December 2, 2020, before U.S. Magistrate Judge, Cam Ferenbach.
19          It is responsibility of the parties to set-up and coordinate the video conference for the Early
20   Neutral Evaluation session. Each party may choose to use any video conference software/app to conduct
21   the Early Neutral Evaluation session. The court will conduct simultaneous video conferences with each
22   party during the Early Neutral Evaluation session and will need a separate video conference link from
23   each party.
24          Each party must then send an invitation link for the Early Neutral Evaluation session to
25   VCF_Chambers@nvd.uscourts.gov by November 24, 2020. Each party must contact chambers (702-464-
           Case 2:20-cv-01865-KJD-NJK Document 15 Filed 11/06/20 Page 2 of 2




1    5540) by November 24, 2020 and be prepared to do a test run of the video conference with chambers on

2    November 24, 2020.

3           All else as stated in the order setting the Early Neutral Evaluation session remains unchanged.

4    (ECF Nos. 6 & 7).

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6           DATED this 6th day of November, 2020.
                                                               _________________________
7                                                              CAM FERENBACH
                                                               UNITED STATES MAGISTRATE JUDGE
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